      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 1 of 12 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JUNZHOU HUANG
                        Plaintiff,                    Case No. 1:24-cv-01562
       v.
MyfatBOSS                                             JURY TRIAL DEMANDED
                        Defendant.




                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Junzhou Huang (“Huang” or Plaintiff), through its undersigned counsel, submits

its complaint for patent infringement against the Amazon storefront doing business as MyfatBOSS

(“Defendant”).

       As described below, MyfatBOSS Pet/Cat Water Fountain Filter products sold into the

United States at least through Amazon.com, the Amazon Warehouse, (collectively “Amazon”),

infringe U.S. Patent No. D912,763 (“the ‘D763 Patent”) either literally or under the doctrine of

equivalents. A true copy of the ‘D763 Patent is attached as Exhibit 1.

       In support of its claims, Plaintiff alleges as follows:

                                     NATURE OF THE ACTION

       1.        This is a complaint for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1 et seq., including 35 U.S.C. §§ 271, 281, 283, 284, and 285.

                                             PARTIES

       2.        Plaintiff Junzhou Huang is a Chinese Citizen and resident of Guangdong Province,

China. Mr. Huang is the named inventor and rightful owner of the ‘D763 patent.

       3.        Plaintiff’s Pet Water Fountain Filters, which embody and practice the ‘D763
      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 2 of 12 PageID #:2




Design, are offered for sale or sold via online platforms, marketplaces or storefronts, such as

Amazon.com.

       4.      Plaintiff is the rightful owner of all rights, title, and interest in the ‘D763 Patent.

Plaintiff has not granted a license of the ‘D763 Patent to Defendant or any other form of

permissions to use or practice the ‘D763 Patent to Defendant.

       5.      On information and belief, Defendant, MyfatBOSS, is an Amazon Storefront and

Seller ID operating from a foreign country, likely from China. On information and belief,

Defendant is a person or entity residing in the People’s Republic of China or other foreign

jurisdictions with no U.S. presence.

       6.      Defendant has offered to sell, has sold, and continues to sell infringing Pet Water

Fountain Filters through its Amazon storefront throughout the United States. On information and

belief, the infringing products are manufactured in China. Defendant conducts business

throughout the United States, including within the State of Illinois and this Judicial District

through Defendant’s Amazon Store.

                                 JURISDICTION AND VENUE

       7.      This Court has original subject matter jurisdiction over the claims in this action

under 28 U.S.C. §§ 1331, 1337(a) and 1338(a).

       8.      Venue is proper in this District under 28 U.S.C. § 1391, and this Court may properly

exercise personal jurisdiction over MyfatBOSS because MyfatBOSS directly targets consumers in

the United States, including Illinois, through at least the fully interactive commercial webpages it

operates which are available to consumers throughout the United States, including Illinois, through

the website Amazon.com, which hosts the Amazon Marketplace.

       9.      Specifically, Federal Rule of Civil Procedure 4(k)(2) subjects MyfatBOSS to



                                                  2
      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 3 of 12 PageID #:3




personal jurisdiction in this Court, because MyfatBOSS is a Chinese or foreign company, it is not

subject to personal jurisdiction in any state’s courts of general jurisdiction. Exercising jurisdiction

over MyfatBOSS is consistent with the Constitution and laws of the United States because

MyfatBOSS actively targets and sells products through interstate commerce to United States

consumers. The domain Amazon.com is specific to the United States. It is designed to reach United

States consumers and targeted towards United States consumers. MyfatBOSS markets and sells

the products at issue to United States consumers through the Amazon Marketplace and thereby

directs its infringing and deceptive commercial activities to the United States.

       10.     MyfatBOSS reaches out to do business with Illinois residents in this judicial district

at least by operating its webstores in the Amazon Marketplace through which Illinois residents can

purchase MyfatBOSS’ infringing products. Product listings do not populate on Amazon.com

unless the seller actively creates and posts that listing. MyfatBOSS has targeted sales to Illinois

residents by operating online stores offering shipping to the United States, including Illinois,

accepting payment in U.S. dollars and, on information and belief, selling infringing products to

Illinois residents. Plaintiff’s distributors compete with MyfatBOSS in the Amazon Marketplace.

MyfatBOSS has committed tortious acts in Illinois while engaging in interstate commerce and has

wrongfully caused PLAINTIFF substantial injury in the State of Illinois.

                           Plaintiff AND U.S. PATENT NO. D912,763

       11.     U.S. Patent No. D912,763 (“the ‘D763 Patent”) was duly and legally issued on

March 9, 2021. (See Exhibit 1). The ‘D763 Patent claims priority to CN 201830103598.6, which

was filed March 20, 2018.




                                                  3
      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 4 of 12 PageID #:4




        12.     Speaking generally, the ‘D763 patent relates to the ornamental design for a round-

shaped filter for a pet fountain, with a hole in its center, and four pockets evenly distributed on its

surface, where each pocket is in the shape of a circular sector of 90 degrees.

        13.     As stated above, Mr. Huang is a Chinese Citizen and resident of Guangdong

Province, China. Mr. Huang is the named inventor and patentee of the ‘D763 patent.

        14.     Mr. Huang now holds scores of patents world-wide, including about a dozen U.S.

utility and design patents directed to pet water fountains, pet water drinking devices, and pet water

fountain filters.

        15.     Plaintiff is one of China’s leading manufacturers and suppliers of pet water fountain

filters. Plaintiff’s products embody the patented ornamental design of the ‘D763 patent (“Patented

Products”).




 Patent No.                      Patented Design

 D912,763




                                                  4
Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 5 of 12 PageID #:5




                                   5
Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 6 of 12 PageID #:6




                                   6
      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 7 of 12 PageID #:7




       16.     Plaintiff is currently supplying the Patented Products to about twenty (20)

distributors/retailers across the United States, most of which are Amazon Online

Sellers/Storefronts.

       17.     One example of the Patented Products being sold by Amazon Storefronts is Wonder

Creature Cat Water Fountain Filter Replacement (Amazon ASIN: B07MBC5LQ4), which receives

quality customer reviews and high ratings (4.7 stars on more than eight thousand reviews).

(https://www.amazon.com/Wonder-Creature-Stainless-Fountain-

Activated/dp/B07MBC5LQ4/ref=sr_1_2?crid=1WXZ2PMTJ055L&keywords=B07MBC5LQ4&

qid=1703678221&sprefix=b07mbc5lq4%2Caps%2C295&sr=8-2)

               DEFENDANT’S (“MyfatBOSS”) INFRINGING ACTIVITIES

       18.     Plaintiff incorporates into this section by reference the allegations in the preceding

paragraphs of this Complaint.

       19.     MyfatBOSS, itself and through parents, divisions, subsidiaries and/or agents are

engaged in the business of manufacturing, marketing, and distributing, and selling a variety of



                                                 7
      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 8 of 12 PageID #:8




cat/pet water fountain filters. On information and belief, MyfatBOSS is now promoting multiple

product lines.

       20.       The infringing MyfatBOSS Products include at least the following models:

       (a)       MyfatBOSS Cat Water Fountain Filter, Cat Fountain Filter Replacement, 6 Pack

       Water Fountain Filters for 63 oz cat water fountain Pet Water Fountain;

       (ASIN1: B0C28DH9H1; https://www.amazon.com/dp/B0C28DH9H1/?th=1;

       “MyfatBOSS 6 Pack – 63oz”)

       (b)       MyfatBOSS Cat Fountain Filters, 10 Pack Pet Fountain Filters, Pet Fountain

       Filter Replacement, Cat Water Filter Replacement for Pet Water Fountain;

       (ASIN: B0B56GDNHD; https://www.amazon.com/dp/B0B56GDNHD/; “MyfatBOSS 10

       Pack”)

       (c)       MyfatBOSS Cat Water Fountain Filter, 16 Pack Pet Fountain Filters, Pet Fountain

       Filter Replacement, Cat Water Filter Replacement for Pet Water Fountain;

       (ASIN: B0BLC82GLL; https://www.amazon.com/dp/B0BLC82GLL/; “MyfatBOSS 16

       Pack”)

       (d)       MyfatBOSS Cat Fountain Filter Replacement for Catit Flower Fountain 3L, 6

       Pack Cat Water Fountain Filter for Catit Design Senses Fountain, Pet Water Fountain

       Filter;

       (ASIN: B0C2CG5VPJ; https://www.amazon.com/dp/B0C2CG5VPJ/; “MyfatBOSS 6

       Pack – 3L”)

       (e)       MyfatBOSS Cat Water Fountain Filter for Catit, 12 Pack Cat Fountain Filter



1 “ASIN” is an acronym for Amazon Standard Identification Number. This is a unique identifier assigned
by Amazon to a particular product listing.


                                                  8
      Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 9 of 12 PageID #:9




          Replacement for Catit Flower Fountain 3L, Cat Water Filter for Catit Design Senses

          Fountain;

          (ASIN: B0BXWY5KSS; https://www.amazon.com/dp/B0BXWY5KSS/; “MyfatBOSS

          12 Pack”)

          21.    A true and correct copy of MyfatBOSS infringing products as listed in paragraphs

20(a)-(e) is attached hereto as Exhibit 2.

          22.    MyfatBOSS infringes the ‘D763 Patent in violation of 35 U.S.C. §§ 271 by making,

using, offering to sell, selling, and/or importing the infringing pet water fountain filters, because

those products are identical or nearly identical to the patented ornamental design of the ‘D763

Patent.

          23.    MyfatBOSS infringing products copy the ‘D763 Design. A claim chart comparing

the patented ornamental design of the ‘D763 Patent with the infringing product is attached hereto

as Exhibit 3. Since the infringing products share a nearly identical infringing ornamental design,

only “MyfatBOSS 12 Pack” is analyzed in the claim chart as a representative.



                                             COUNT I:

                      (Infringement of Design Patent Under 35 U.S.C. § 271)

          24.    Plaintiff restates and incorporates by reference the allegations in the preceding

paragraphs as if set forth fully herein.

          25.    Defendant has manufactured, imported, supplied, distributed, sold, and/or offered

for sale the infringing Cat/Pet Water Fountain Filters through Amazon.

          26.    In view of the foregoing, Defendant’s sale of Cat/Pet Water Fountain Filters

infringe the ‘D763 Patent under 35 U.S.C. § 271(a).



                                                 9
     Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 10 of 12 PageID #:10




        27.     Defendant’s infringement of the ‘D763 Patent is ongoing and will continue unless

and until enjoined by this Court.

        28.     Defendant’s infringement has caused and, unless restrained by this Court, will

continue to cause monetary damage to Plaintiff in an amount to be proven at trial. Plaintiff is

entitled to be compensated by MyfatBOSS in an amount no less than a reasonable royalty, together

with interest and costs pursuant to 35 U.S.C. § 284.

        29.     Defendant’s infringement has caused and will continue to cause, serious and

irreparable harm to Plaintiff for which Plaintiff has no adequate remedy at law unless Defendant

is temporarily, preliminarily, and permanently enjoined by this Court from further infringement of

the ‘D763 Patent pursuant to 35 U.S.C. § 283.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays for judgment and relief as follows:

        A.      Entering judgment that Defendant has infringed the ‘D763 Patent;

        B.      Ordering that Defendant, its officers, directors, employees, agents, affiliated

entities, and all parties in active participation or in privity with them, be temporarily, preliminarily,

and permanently enjoined and restrained from infringing the ‘D763 Patent;

        C.      Ordering that, upon Plaintiff’ request, all in privity with Defendant and with notice

of the injunction, including but not limited to any online marketplace platforms, such as Alibaba,

Ali Express, Amazon, DH Gate, eBay, Newegg, Shopify, Wish, and vendors of sponsored search

terms or online ad-word providers, financial services providers, including but not limited to credit

card providers, banks, merchant account providers, third party payment processors, web hosts, and

Internet search engines, such as Google, Bing, and Yahoo shall:

                a. disable and cease providing services being used by Defendant, currently or in the



                                                   10
       Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 11 of 12 PageID #:11




         future, to engage in the sale of goods that infringe the ‘D763 patent;

                b. disable and cease displaying any advertisements used by or associated with

         Defendant in connection with the sale of infringing goods using the ‘D763 patent; and

                c. take all steps necessary to prevent links to the Defendant Amazon Store from

         displaying in search results, including, but not limited to, removing links to the Defendant

         Amazon Store from any search index;

         D.     Ordering Defendant to pay damages to Plaintiff adequate to compensate it for the

infringement described in this Complaint, together with interest and costs;

         E.     Awarding Plaintiff enhanced damages for Defendant’s wrongful conduct in an

amount three times the actual damages proven at trial;

         F.     Declaring this case exceptional and awarding Plaintiff its reasonable attorney fees;

and,

         G.      Granting Plaintiff all other legal and equitable relief the Court finds just and proper.



                                   DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury for all claims and issues that are triable by right.




                                                   11
    Case: 1:24-cv-01562 Document #: 1 Filed: 02/26/24 Page 12 of 12 PageID #:12




Date: February 26, 2024                            Respectfully submitted,

                                               By: _/s/ Yichen Cao___________
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                                        12
